Case 1:07-cv-00241-L-LDA   Document 57-6   Filed 02/29/2008   Page 1 of 6




                EXHIBIT 5
Case 1:07-cv-00241-L-LDA   Document 57-6   Filed 02/29/2008   Page 2 of 6
Case 1:07-cv-00241-L-LDA   Document 57-6   Filed 02/29/2008   Page 3 of 6
Case 1:07-cv-00241-L-LDA   Document 57-6   Filed 02/29/2008   Page 4 of 6
Case 1:07-cv-00241-L-LDA   Document 57-6   Filed 02/29/2008   Page 5 of 6
Case 1:07-cv-00241-L-LDA   Document 57-6   Filed 02/29/2008   Page 6 of 6
